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                          IN THE UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

         MARYLAND SHALL ISSUE,                          )
         INC., et al.,                                  )
                                                        )
               Plaintiffs,                              )
                                                        )         No. 23-1719
               v.                                       )
                                                        )
         MONTGOMERY                 COUNTY,             )
         MD,                                            )

               Defendant.

                             PLAINTIFFS’ EMERGENCY MOTION FOR A
                              RULE 8 INJUNCTION PENDING APPEAL

              Pursuant to Rule 8(a)(1)(C) of the Federal Rules of Appellate Procedure,

        plaintiffs respectfully move this Court for an injunction pending appeal. Pursuant to

        28 U.S.C. § 1292(a)(1), on July 7, 2023, plaintiffs filed a notice of appeal from the

        July 6, 2023, order of the district court denying plaintiffs’ motion for a preliminary

        injunction. On July 8, 2023, plaintiffs filed a letter with the district court requesting

        leave to file a Rule 8 motion with the district court, as required by the district court’s

        case management order. Dkt #87. To date, the district court has failed to allow

        plaintiffs to file a Rule 8 motion and has thus “failed to afford the relief requested”

        within the meaning of Rule 8(a)(2)(ii). The district court has not provided any reason

        for this inaction and the court’s inaction is functionally the same as a denial in its

        impact on plaintiffs. Plaintiffs therefore seek emergency relief from this Court.

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        Plaintiffs respectfully request an immediate ruling on this emergency motion.

        Counsel for the appellee has been informed of this filing and while appellants have

        yet to receive a response, appellee will undoubtedly file an opposition.

              In support of this motion, plaintiffs attach the Decision and Order of the

        district court, the district court docket sheet, the Verified Second Amended

        Complaint (“SAC”), a copy of Bill 4-21 and Bill 21-22E as enacted by the County,

        a copy of Montgomery County Code, Chapter 57 as thus amended, the declarations

        submitted below in support of the motion for a preliminary injunction, the

        supplemental declaration of Allan Barall, the supplemental declaration of Daniel

        Carlin-Weber, the transcript of the February 6, 2023 hearing, and a copy of Senate

        Bill 1, 2023 Maryland Session Laws, Ch. 680. The verification declarations attest to

        the allegations of the SAC and are thus omitted from this filing but are available

        from the district court docket (Dkt # 49).

              A.     Introduction

              At issue in this case are ordinances, Bill 4-21 and Bill 21-22E, enacted by

        Montgomery County, Maryland (“the County”), codified at County Code Chapter

        57. Bill 4-21 was enacted in 2021 and Bill 21-22E was enacted on November 28,

        2022, in response to NYSRPA v. Bruen, 142 S.Ct. 2111 (2022). As thus amended,

        Section 57-11(a) of Chapter 57 bans the possession, transport, sale, and transfer of

        all firearms within thousands of 100-yard exclusionary zones spread throughout the

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        County. Section 57-10 bans firearms, with minor exceptions, on the person or in a

        vehicle. Plaintiffs in this case are Maryland Shall Issue, Inc., a Section 501(c)(4)

        membership advocacy organization, Engage Armament, a State and Federally

        licensed firearms dealer, ICE Firearms, a firearms instruction business, and eight

        individuals who live and/or work in the County. Each of the individual plaintiffs has

        a Maryland wear and carry permit issued by the Maryland State Police pursuant to

        MD Code, Public Safety, § 5-306.

                The Verified Second Amended Complaint was filed November 30, 2022,

        immediately after the enactment by the County of Bill 21-22E on November 28,

        2022. In Count VII, plaintiffs challenged Chapter 57 of the Montgomery County

        Code (“Chapter 57”), as amended by Bill 4-21 and Bill 21-22E, as a violation of the

        Second Amendment as construed in Bruen. On December 6, 2022, plaintiffs filed an

        emergency motion for a TRO and preliminary injunction, seeking immediate relief.

        The district court held argument on February 6, 2023, and denied the motion five

        months later, on July 6, 2023. Plaintiffs filed a timely notice of appeal on July 7,

        2023.

                Bruen struck down a New York statute that required applicants for a carry

        permit to demonstrate “proper cause” for carrying a handgun in public. The Court

        held that the Second Amendment protected “the general right to publicly carry arms

        for self-defense,” 142 S.Ct. at 2134, while also making clear that a State may

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        condition that “Second Amendment right to public carry” on obtaining a carry permit

        from the State if the permit is issued on an otherwise reasonable and objective “shall

        issue” basis. Bruen, 142 S.Ct. at 2138 & n.9. Permits in Maryland are now issued on

        a “shall issue” basis. See Matter of Rounds, 255 Md.App. 205, 213, 279 A.3d 1048

        (2022) (invalidating the “good and substantial reason” requirement found in MD Code,

        Public Safety, § 5-306(a)(6)(ii), as contrary to Bruen).

              County officials reacted to Buren with defiance. The County Executive was

        vocal in opposing Bruen. https://bit.ly/3B9ucB4 (starting at 01:29), as was the

        sponsor of Bill 21-22E, the County Council President. https://bit.ly/3VvCf3u, who

        complained that the decision made it more difficult for the County to enact policies

        that “prevent someone’s Second Amendment right from infringing on the right of

        me and my family to go to a movie theater without having to wonder or worry about

        someone sitting next to me is carrying a gun on them.” https://bit.ly/3P1mmz9

        (starting at 01:40). Those views were endorsed by the leadership of the Montgomery

        County Police Department, id., by the County Council, https://bit.ly/3VydQdF

        (starting at 02:04:13), and by the County Executive. https://bit.ly/3ET5bv3 (at

        02:05). Bill 21-22E was enacted as emergency legislation and went into effect

        immediately upon the signature of the County Executive on November 28, 2023.




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              B. Chapter 57, Bill 4-21 and Bill 21-22E

              A major change made by Bill 21-22E was to amend Section 57-11(b) of Chapter

        57 to eliminate the exemption for permit holders from the bans on firearms otherwise

        imposed by Section 57-11(a). (SAC ¶ 85). Bill 21-22E also altered the definition of

        “place of public assembly,” as used in Section 57-11(a) of Chapter 57. Specifically,

        Bill 21-22E replaced the definition of “place of public assembly” imposed by Bill 4-

        21 and redefined the phrase to mean:

              (1) a publicly or privately owned:
              (A) park; (B) place of worship; (C) school; (D) library; (E) recreational facility;
              (F) hospital; (G) community health center, including any health care facility or
              community-based program licensed by the Maryland Department of Health; (H)
              long-term facility, including any licensed nursing home, group home, or care
              home; (I) multipurpose exhibition facility, such as a fairgrounds or conference
              center; or (J) childcare facility;
              (2) government building, including any place owned by or under the control of
              the County; (3) polling place;
              (4) courthouse;
              (5) legislative assembly; or
              (6) a gathering of individuals to collectively express their constitutional right to
              protest or assemble.
              (SAC ¶ 11).

        Bill 21-22E further defined the “place of public assembly” to mean: “A ‘place of public

        assembly’ includes all property associated with the place, such as a parking lot or

        grounds of a building.” Id.

              Section 57-11(a), as thus amended, provides that “[i]n or within 100 yards of a

        place of public assembly, a person must not: (1) sell, transfer, possess, or transport a

        ghost gun, undetectable gun, handgun, rifle, or shotgun, or ammunition or major
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        component for these firearms.” See Exhibit B. Similarly, Section 57-10 of Chapter 57

        provides that “[i]t shall be unlawful for any person to have upon his person, concealed

        or exposed, or in a motor vehicle where it is readily available for use, any gun designed

        to use explosive ammunition” subject to limited exceptions.1 No exception is made for

        permit holders and this prohibition in Section 57-10 is County-wide. Under Section

        57-15 “[a]ny violation of this Chapter … is a Class A violation to which the maximum

        penalties for a Class A violation apply.” Under Section 1-19 of the County Code, the

        maximum penalties applicable for a violation of Chapter 57 are a $1,000 fine and 6

        months in jail. Under Section 1-20(c) of the County Code, “[e]ach day any violation

        of County law continues is a separate offense.”

              C. Proceedings Below

              On May 28, 2021, plaintiffs filed the Complaint in this matter, challenging Bill

        4-21. On June 16, 2021, plaintiffs filed an emergency motion for partial summary

        judgment and supporting memorandum, seeking declaratory and equitable relief on

        Counts I, II and IV of the Complaint. Count I challenged Bill 4-21 as unconstitutional

        under Maryland’s Constitution. Count II alleged that Bill 4-21 conflicted with




              1
                One of the exceptions from Section 57-10 is for persons on “a lawful
        mission” which presumably included persons who had a wear and carry permit. Bill
        21-22E’s repeal of the exception for permit holders effectively removed that
        exception from Section 57-10, thus subjecting permit holders to the bans imposed
        by Section 57-10 as well as by Section 57-11(a).
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        numerous State laws and preemption statutes. Count III alleged that Bill 4-21 was a

        Taking under the State Constitution. Count IV alleged that parts of Bill 4-21 were

        unconstitutionally vague under the federal and State Constitutions. On July 12, 2021,

        defendant removed the entire case to federal district court. On February 7, 2022, the

        district court remanded Counts I, II and III to State court. Maryland Shall Issue, Inc. v.

        Montgomery County, 2022 WL 375461 (D. Md. Feb. 7, 2022).

              Shortly thereafter, the Supreme Court decided Bruen, striking down a New York

        statute that required applicants for a carry permit to demonstrate “proper cause” for

        carrying a handgun in public. The Court held that the Second Amendment protected

        “the general right to publicly carry arms for self-defense,” 142 S.Ct. at 2134, while

        also making clear that a State may condition that “Second Amendment right to public

        carry” on obtaining a carry permit from the State if the permit is issued on an otherwise

        reasonable and objective “shall issue” basis. Bruen, 142 S.Ct. at 2138 & n.9.

              Bruen identified three locations (polling places, legislative assemblies, and

        courthouses) where a state may completely ban firearms, noting that “courts can use

        analogies to those historical regulations of ‘sensitive places’ to determine that modern

        regulations prohibiting the carry of firearms in new and analogous sensitive places are

        constitutionally permissible.” 142 S.Ct. at 2134. Such an analogue must be a “well-

        established and representative historical analogue.” Id. Outlier statutes are to be

        disregarded (id. at 2133, 2153), as are statutes from the Territories (id. at 2154-55) as

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        are statutes from the “late-19th-century evidence, the 20th-century.” Id. at 2154 n.28.

        The Court looked to the Founding Era in conducting this analysis.

              On July 22, 2022, plaintiffs filed, in State court, the “First Amended Verified

        Complaint,” adding a new Count V alleging that Bill 4-21 was unconstitutional under

        the Second Amendment as construed in Bruen. On August 8, 2022, the County

        promptly removed the First Amended Complaint to federal district court. On

        November 28, 2022, the County enacted Bill 21-22E. On November 30, 2022,

        plaintiffs filed a Second Amendment Complaint, directly challenging Chapter 57, as

        thus altered, and amended by Bill 21-22E. On December 6, 2022, plaintiffs filed an

        emergency motion for a TRO and preliminary injunction on Count VII of the Second

        Amended Complaint, contending that Chapter 57’s bans on carry by permit holders

        were facially unconstitutional under Bruen. Oral argument was held February 6, 2023,

        and the district court issued its order and opinion denying that motion on July 6, 2023.

                                               ARGUMENT

              Plaintiffs’ Rule 8 motion seeks an injunction pending appeal only with respect

        to permit holders and only with respect to: (1) the County’s bans on possession and

        transport of firearms within the County’s 100-yard exclusionary zones as regulated

        by Section 57-11(a), (2) the bans imposed by Section 57-10, and (3) the bans

        imposed by Chapter 57 at or within houses of worship. This Rule 8 motion does not

        seek relief with respect to firearms inside all the rest of the locations identified by

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        the County’s definition of a “place of public assembly” or at any place where

        firearms are otherwise banned by State law. This limited request is thus much

        narrower than the preliminary injunctive relief sought in plaintiffs’ original motion.

              Rule 8 relief is governed by Nken v. Holder, 556 U.S. 418, 434 (2009), which

        makes clear that the standard for a preliminary injunction and the standard for relief

        pending appeal, while “similar” and “overlap[ping],” are not the same. See Grimmett

        v. Freeman, 2022 WL 3696689 at *1 (4th Cir. 2022) (per curiam). A Rule 8 motion

        is addressed to this Court’s equitable discretion and is considered de novo. See, e.g.,

        Does 1-3 v. Mills, 39 F.4th 20, 24 (1st Cir. 2022); Priorities USA v. Nessel, 978 F.3d

        976, 982 (6th Cir. 2020).

              A. Plaintiffs Are Likely To Succeed On The Merits

              The party seeking Rule 8 relief pending appeal must show that they are

        “‘likely to succeed on the merits.’” Id., quoting Nken, 556 U.S. at 426. Under this

        element, the movant “must establish a material probability of success on the merits.”

        Vialva v. Watson, 975 F.3d 664, 666 (7th Cir. 2020). However, Nken “did not suggest

        that this factor requires a showing that the movant is ‘more likely than not’ to

        succeed on the merits.” Citigroup Global Mkts., Inc. v. VCG Special Opportunities

        Master Fund Ltd., 598 F.3d 30, 37 (2d Cir. 2010). Thus, “[a] ‘strong’ showing thus

        does not mean proof by a preponderance.” Illinois Republican Party v. Pritzker, 973

        F.3d 760, 763 (7th Cir. 2020).

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              Chapter 57 bans firearms at and within 100 yards of any location defined by

        the County to be a “place of public assembly,” There are likely thousands of such

        100-yard exclusionary zones spread throughout the County. For example, the

        County stated that “[t]here are over 1,000 licensed childcare facilities in the County.”

        County Opp. To Plaintiffs’ Motion for a PI at 26. The existence of so many such

        zones makes it impossible, as a practical matter, for a permit holder to travel through

        the County without coming within at least one of these 100-yard exclusionary zones.

        The scope of that coverage is illustrated in the maps that identify these thousands of

        locations, attached to the Supplemental Declaration of Daniel Carlin-Weber, filed

        herewith. This is what Montgomery County looks like with the Section 57-11(a)

        100-yard exclusionary zones (red shaded areas):




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        Id. at 9. Additional maps are set forth in the Carlin-Weber Declaration. As these

        maps make plain, it is literally impossible to drive in or through the County,

        including on Interstate Highways, like I-495 and I-270 and other thoroughfares, with

        a firearm without quickly entering one or more of these 100-yard exclusionary

        zones. The downtown areas in the County are almost completely “no go” zones.

        Indeed, plaintiffs Brandon Ferrell, Joshua Edgar, Deryck Weaver and Nancy and

        Ronald David cannot even carry outside their homes at all with their permits. SAC

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        ¶¶ 64, 66, 69, 71, 73. The same is true for declarant Allan Barall. See Supplemental

        Declaration of Allan Barall. That effect is not disputed by the County. That result is

        reinforced by Section 57-10, which, as noted, makes it unlawful for any person to

        have a gun “on his person, concealed or exposed, or in a motor vehicle where it is

        readily available for use.” That provision is not subject to any 100-yard limitation.

              That result is indefensible. Bruen held that “there is no historical basis for

        New York to effectively declare the island of Manhattan a ‘sensitive place’” as that

        “would in effect exempt cities from the Second Amendment and would eviscerate

        the general right to publicly carry arms for self-defense.” 142 S.Ct. at 2134. The

        island of Manhattan occupies approximately 23 square miles. Montgomery County

        occupies over 506 square miles. Carlin-Weber Decl. at 3. If New York may not

        “effectively” ban carry on the island of Manhattan or in cities, the County may not

        “effectively” ban carry throughout the County. Bruen held that there is a “general

        right” to carry in public, 142 S.Ct. at 2135, 2134, 2135, but the County has

        extinguished that right, exactly as its officials intended.

              Relying exclusively on post-Civil War historical analogues, including some

        statutes and local ordinances from the Territories and from the late 19th and 20th

        centuries, the district court nonetheless sustained Chapter 57’s ban on firearm

        possession and transport by permit holders. In so holding, the court relied (slip op.

        18-19) exclusively on NRA v. Bondi, 61 F.4th 1317, 1322 (11th Cir. 2023), a decision

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        holding that the Reconstruction Era was the “more probative” period than the

        Founding Era for conducting the historical analogue inquiry. That panel holding in

        Bondi conflicts with Hirschfeld v. ATF, 5 F.4th 407, 419 (4th Cir. 2021), vacated as

        moot, 14 F.4th 322 (4th Cir. 2021), which held that 1791 is the “critical year” for

        conducting the historical inquiry required under the Second Amendment. Quoting

        Moore v. Madigan, 702 F.3d 933, 935 (7th Cir. 2012). 2 However, on July 14, 2023,

        the Eleventh Circuit granted rehearing en banc in Bondi and vacated the panel’s

        opinion. NRA v. Bondi, 2023 WL 4542153 (11th Cir. 2023).

              Apart from the now-vacated decision in Bondi, we know of no court that has

        held that the Reconstruction Era is “more probative” for the historical inquiry

        required by Bruen. See Worth v. Harrington, 2023 WL 2745673, at *11 (D. Minn.

        Mar. 31, 2023) (rejecting Bondi, following Hirschfeld and noting the “rather clear

        signs that the Supreme Court favors 1791”); Fraser v. ATF, 2023 WL 3355339 *15

        & n.21 (E.D. Va. May 10, 2023) (following Hirschfeld and Worth and rejecting

        Bondi). In this case, the district court looked exclusively to laws from the

        Reconstruction Era, statutes enacted in the Territories and statutes or ordinances

        enacted in late 19th and 20th centuries in conducting the historical inquiry. Slip op.



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                While Hirschfeld involved a challenge to a federal statute, Bruen held that
        “individual rights enumerated in the Bill of Rights and made applicable against the
        States through the Fourteenth Amendment have the same scope as against the
        Federal Government.” 142 S.Ct. at 2137.
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        23-27, 29-32, 34, 38. The court dismissed Founding Era traditions as inconsistent

        with these statutes. Slip op. at 37-38.

              The district court’s analysis was error. Later statutes are to be rejected if they

        conflict with a Founding Era tradition and a court may not rely on statutes from the

        Territories and the late 19th and 20th centuries or on outliers. Bruen, 42 S.Ct. at 2154

        (finding territorial statutes not ‘instructive’”), id at n.28 (declining to consider late-

        19th or 20th century evidence because it “does not provide insight into the meaning

        of the Second Amendment when it contradicts earlier evidence”); Id at 2154 (later

        history is accorded little weight “when it contradicts earlier evidence”). Bruen holds

        that “the lack of a distinctly similar historical regulation addressing that problem is

        relevant evidence that the challenged regulation is inconsistent with the Second

        Amendment.” 142 S.Ct. 2131. The same “lack” is apparent here.

              Section 57-11(a) and Section 57-10 ban firearms over vast tracts of privately

        owned land otherwise open to the public and those bans are thus analogous to New

        Jersey’s presumptive ban on carry on private property at issue in Koons v. Platkin,

        2023 WL 3478604 at *68 (D.N.J. May 16, 2023), where the district court

        preliminarily enjoined that presumptive ban. New Jersey appealed that and other

        rulings to the Third Circuit and sought a stay of the injunction pending appeal. In a

        2-1 ruling, the Third Circuit granted New Jersey’s motion for a stay in limited part,

        but otherwise denied the state’s motion for a stay, including refusing to stay that part

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        of the district court’s preliminary injunction invalidating the presumptive ban on

        carry on private property. The third judge on the motions panel would have denied

        New Jersey’s motion for a stay in its entirety. See Koons v. Attorney General of New

        Jersey, No. 23-1900, slip op. 2 and n.1 (June 20, 2023). In this case, Chapter 57,

        with its 100-yard exclusionary zones (Section 57-11(a)) and ban on possession on

        the person and in a vehicle (Section 57-10), effectively prohibits carry by permit

        holders much more extensively than the New Jersey statute enjoined in Koons.

              The same situation applies to houses of worship at which firearms are

        expressly banned by Section 57-11(a). The district court in Hardaway v. Nigrelli,

        2022 WL 16646220 (W.D.N.Y. Nov. 3, 2022), and a different district court in

        Antonyuk v. Hochul, 2022 WL 16744700 (N.D.N.Y. Nov. 7, 2022), preliminarily

        enjoined, inter alia, New York’s ban on carry in houses of worship by permit

        holders. On appeal, New York sought a stay pending appeal of all aspects of both

        orders. The Second Circuit granted the motion for a stay, but, in both cases the

        Second Circuit expressly excepted from its stay order “persons who have been

        tasked with the duty to keep the peace at places of worship.” Hardaway v. Nigrelli,

        No. 22-2933 (2d Cir. 2023); Antonyuk v. Hochul, 2022 WL 18228317 (2d Cir. 2022).

        Multiple declarants in this case provided precisely that security for their places of

        worship in the County prior to the enactment of Bill 21-22E and attest to the urgent

        and indisputable need for security. See Declaration of David Sussman, the

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        Declaration and Supplemental Declaration of Allan Barall and the anonymous

        Declarations of John Doe 1, John Doe 2, Thomas Paine and the anonymous

        Declaration and Supplemental Declaration of John Smith, all submitted with

        plaintiffs’ motion for a preliminary injunction or reply. In further support, attached

        to this Motion is the Second Supplemental Declaration of Allan Barall. These rulings

        in Koons, Hardaway and Antonyuk, by three district courts and two different courts

        of appeals indicate that plaintiffs have a strong likelihood of success.

              C.     Plaintiffs Are Suffering Continuous Irreparable Injury

              Nken also requires a showing of irreparable harm. 556 U.S. at 434. Plaintiffs

        suffer continuing irreparable harm by the County’s denial of plaintiffs’ constitutional

        right to carry in public. See Ross v. Meese, 818 F.2d 1132, 1135 (4th Cir. 1987) (“the

        denial of a constitutional right, if denial is established, constitutes irreparable harm

        for purposes of equitable jurisdiction”); Grimmett, 2022 WL 3696689 at *2

        (“Infringing constitutional rights generally constitutes irreparable harm”) (citing

        Ross). See also Koons v. Reynolds, 2023 WL 128882 at *23 (D.N.J. Jan. 9, 2023).

        That harm is “irreparable” under Nken. The district court seemed to accept this point

        but inexplicitly found it insufficient. Slip op. 38.

              Instead, the district court suggested that plaintiffs were not irreparably harmed

        because they had not demonstrated “a specific incident of violence for which a

        firearm would be necessary for self-defense is imminent or likely.” Slip op. 39. But

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        “[t]he right to ‘keep and bear Arms’ historically encompassed an “individual right

        to possess and carry weapons in case of confrontation.’” Bruen 142 S.Ct. at 2176

        (emphasis added) (citation omitted). The point of carry “in case of confrontation” is

        lost if plaintiffs must wait until a deadly threat is “imminent or likely.” The Supreme

        Court disallowed that sort of reasoning in Bruen in rejecting New York’s argument

        the government should be allowed to “condition handgun carrying in areas

        ‘frequented by the general public’ on a showing of a nonspeculative need for armed

        self-defense in those areas.’” 142 S.Ct. at 2135. No court since Bruen has required a

        plaintiff to show an “imminent” need for self-defense. That very notion is

        antithetical to the “general right” recognized in Bruen.

              The district court also erred in suggesting that “[p]laintiffs also have not

        persuasively demonstrated how the Second Amendment right to armed self-defense

        extends to a right to act as an armed security guard for private institutions.” Slip op.

        40. The connection to self-defense is tragically obvious. Plaintiff Shemony alleges

        in the verified Second Amended Complaint that “he regularly carries a loaded

        firearm while attending services at his synagogue for his own self-defense and for

        the defense of others.” (SAC ¶ 74) (emphasis added). The declaration of Allan D.

        Barall (Exhibit O) details the threats to which Jewish synagogues are subject and

        those threats apply directly to the permit holder member of the synagogue no less

        than any other member of that community. Full time security guards at small

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        synagogues are both not affordable and less effective, as explained in the Declaration

        of John Doe No. 1 (Exhibit P ¶ 8) and in the Barall Declaration ¶ 6 (Exh. O). The

        same points obviously apply no less to churches, which are also under threat of

        attack. See Declaration of John Smith No.1 (Exhibit S). This incontestable evidence

        cannot be ignored.

              D.     The Requested Relief Would Not Harm The County

              Finally, Nken requires consideration of whether the relief sought will

        “substantially injure” other parties. 556 U.S. at 434. This factor is less important

        than the likelihood of success and irreparable injury. See Nken, 556 U.S. at 434

        (“The first two factors of the traditional standard are the most critical.”). Contrary to

        the district court’s ruling (slip op. 39), relief simply cannot be denied just because

        the County (or the court) believes (or fears) that public safety might be impaired by

        allowing trained and vetted permit holders to exercise their constitutional rights. See

        Bruen, 142 S.Ct. at 2126 n.3 (“‘[t]he right to keep and bear arms ... is not the only

        constitutional right that has controversial public safety implications’”) (citation

        omitted). See also Bruen, 142 S.C. 2160-61 (Alito, J., concurring).

              The district court noted rising crime in Montgomery County (slip op. 39-40),

        but no part of this rise can be remotely attributed to thoroughly vetted permit

        holders who are, as a group, probably the most law-abiding persons in the United

        States. See https://bit.ly/3O02TPA. Prior to the enactment of Bill 21-22E in

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        November 2022, the County expressly exempted permit holders from its regulations

        See slip op. 5. Likewise, prior to Bruen, the Maryland State Police issued carry

        permits to members of churches and synagogues to provide security at these places

        of worship under MD Code, Public Safety, § 5-306(a)(6)(ii), the “good and

        substantial reason” requirement invalidated under Bruen. See Barall Decl. (Exh. O).

        Allowing permit holders to continue to provide security cannot possibly harm the

        County. Carry at churches is fully consistent with the historical tradition at the time

        of the Founding. See Koons v. Platkin, 2023 WL 3478604, at **72–73 (D.N.J. May

        16, 2023).

              Allowing permit holders to carry pending appeal would thus reinstate the

        status quo ante that existed prior to the enactment of Bill 21-22E. A preliminary

        injunction or an injunction pending appeal restoring the status quo ante is fully

        appropriate under equitable principles. See Aggarao v. MOL Ship Mgmt. Co., 675

        F.3d 355, 378 (4th Cir. 2012) (“The status quo to be preserved by a preliminary

        injunction, however, is not the circumstances existing at the moment the lawsuit or

        injunction request was actually filed, but the ‘last uncontested status between the

        parties which preceded the controversy.’”), quoting Stemple v. Bd. of Ed. of Prince

        George’s Cnty., 623 F.2d 893, 898 (4th Cir.1980). The relief sought here would

        “restore” that ability to carry pending appeal.



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              Carry by permit holders did not harm the County prior to the enactment of

        Bill 21-22E and it cannot now. While Bruen allows more people to obtain carry

        permits under “shall issue” laws, 142 S.Ct. at 2138 n.9, that is because “the people”

        have a constitutional right to bear arms. “A state is ‘in no way harmed by issuance

        of a preliminary injunction which prevents the state from enforcing restrictions

        likely to be found unconstitutional. If anything, the system is improved by such an

        injunction.’” Centro Tepeyac v. Montgomery Cty., 722 F.3d 184, 191 (4th Cir. 2013),

        quoting Giovani Carandola, Ltd. v. Bason, 303 F. 3d. 507, 521 (4th Cir. 2002). See

        also Hispanic National Law Enforcement Association NCR v. Prince George’s

        County, 535 F.Supp.3d 393, 428-29 (D. Md. 2021) (Chuang, J.) (same). Nken

        requires no more.

              E.     The “Public Interest” Is Not Harmed

              Finally, Nken requires consideration of whether the relief sought will be “in

        the public interest.” 556 U.S. at 434. “[U]pholding constitutional rights is in the

        public interest.” Legend Night Club v. Miller, 637 F.3d 291, 303 (4th Cir. 2011). See

        also Giovani Carandola, 303 F. 3d. at 521 (stating that “upholding constitutional

        rights surely serves the public interest”). The right of self-defense is well-recognized

        in the law and is not contrary to the public interest.

              The district court gave controlling weight to the County’s argument that Bill

        21-22E “serve[s] the public interest of reducing the risk of gun violence.” Slip op.

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        39. That ipse dixit view is contrary to Senate Bill 1 (“SB 1”), State-wide legislation

        regulating carry by permit holders enacted by the Maryland General Assembly this

        year. 2023 Maryland Session Laws Ch. 680. SB 1 affirmatively allows carry by

        private owners (and by persons with whom the owner has an “express agreement”)

        in the Bill’s list of privately owned “sensitive” areas, including private schools. Id.,

        amending MD Code, Criminal Law, § 4-111(b)(9). The bans in government areas

        are restricted to buildings or parts of buildings which “must” be posted. Id. at § 4-

        111(d)(2). SB 1 does not ban firearms in any park, place of worship, library,

        recreational facility, or in any multipurpose exhibition facility such as fairgrounds

        or conference centers and regulates firearms in far fewer types of health care

        facilities than the County. None of these areas include buffer zones.

              Under SB 1, places of worship are treated as ordinary private property in

        which the owners may carry and allow others to do likewise by simple permission,

        including a sign. Id. § 6-411(d)(1),(2). SB 1 also affirmatively allows fully armed

        permit holders to carry in a vehicle. Id. § 6-411(b)(11). Unlike Chapter 57, SB 1

        expressly applies only to “building[s]” and allows carry (by permit holders) in areas

        “adjacent to” such private property . Id., § 6-411(b)(6). These determinations of the

        “public interest” by the General Assembly warrant consideration. The district court

        ignored SB 1, even though it was briefed by plaintiffs. (Dkt #80). This is not to say



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        that all of SB 1 is constitutional (parts of it have already been challenged by MSI

        and others), only that the contrast to the County is stark.

              The Supreme Court rejected means-ends scrutiny in Bruen, 142 S.Ct. at 2126-

        27. Prior to Bruen, that means-end approach balanced the State’s asserted

        “compelling interest” in public safety with the right guaranteed by the Second

        Amendment in what amounted to “rational basis review.” See Silvester v. Becerra,

        138 S.Ct. 945 (2018) (Thomas, J., dissenting from the denial of certiorari) (noting

        that means-end scrutiny “was indistinguishable from rational-basis review”). Bruen,

        142 S. Ct. at 2131 (“The Second Amendment is the very product of an interest

        balancing by the people and it surely elevates above all other interests the right of

        law-abiding, responsible citizens to use arms for self-defense.”) (internal quotation

        marks omitted).

              Just as the courts may not “engage in independent means-end scrutiny under

        the guise of an analogical inquiry,” Bruen, 142 S.Ct. at 2133 n.7, courts may not

        engage in means-ends scrutiny under the guise of balancing the right to armed self-

        defense in undertaking the analysis required for equitable relief. Doing so would

        effectively “eviscerate the general right to publicly carry arms for self-defense,” just

        as means-ends scrutiny did prior to Bruen. Id. at 2134. “‘The constitutional right to

        bear arms in public for self-defense is not ‘a second-class right, subject to an entirely



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        different body of rules than the other Bill of Rights guarantees.’” Bruen, 142 S.Ct.

        at 2156 (citation omitted).

                                            CONCLUSION

              The motion for an injunction pending appeal should be granted.


                                                     /s/ Mark W. Pennak
                                                     __________________________
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              Dated: July 17, 2023




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                                CERTIFICATE OF COMPLIANCE

              Pursuant to Rule 27(d) and Rule 32(g)(1) of the Federal Rules of Appellate

        Procedure, the undersigned counsel here certifies that the forgoing Plaintiff’s

        Emergency Motion For A Rule 8 Injunction Pending Appeal contains 5,187 words,

        not counting those items which may be excluded under Rule 32(f), and uses a 14

        point, Times New Roman proportional font.


                                            /s/ Mark W. Pennak

                                            Mark W. Pennak,
                                            Counsel for Plaintiffs-Appellants




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                                 CERTIFICATE OF SERVICE

              The undersigned counsel hereby certifies that on July 17, 2023, the forgoing

        “Plaintiff’s Emergency Motion For A Rule 8 Injunction Pending Appeal” were

        served on opposing counsel listed below via ECF service:


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        Dated: July 17, 2023




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